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                                               EXHIBIT A

     Transfers and Obligations to Defendants in Connection with the Acquisition of Embed

                                                                                      Amount of
                      Defendant                                Type of Interest       Transfer or
                                                                                      Obligation
    Harland Group LLC 1                                     Shares                   $101,130,330.50
    Propel Venture Partners, LLC Propel Venture
                                                            Shares                     $17,516,885.68
    Partners US Fund I, L.P.
    LGF II, L.P.                                            Shares                     $12,000,752.03
    Buckley Ventures GP, LLC Buckley Ventures,
                                                            Shares                     $12,000,752.03
    LP
    Laurence Beal                                           Shares                     $10,113,033.05
    Y Combinator ES20, LLC                                  Shares                      $9,161,214.61
    Acrew Capital MGP, LLC Acrew Capital
                                                            Shares                         $4,420,123.58
    Fund, L.P.
    Homebrew Ventures III, LP                               Shares                         $2,400,166.59
    Propel Venture Partners, LLC Propel Venture
                                                            Shares                         $2,400,166.59
    Partners US Fund I LP
    SWS Holding Company, LLC                                Shares                         $2,400,166.59
    Treasury Fund I, LP                                     Shares                         $2,379,556.22
    Harland Group LLC                                       Shares                         $1,475,329.71
    SWS Holding Company, LLC                                Shares                         $1,347,460.52
    Bain Capital Venture Fund 2019 LP                       Shares                         $1,253,914.97
    Fund I, a series of 20VC, LP                            Shares                         $1,200,093.41
    Soma Capital Fund III Partners LLC SOMA
                                                            Shares                          $960,070.68
    Capital Fund, III, LP
    Kerr Investment Holdings Pty Ltd atf The Kerr
                                                            Shares                          $951,818.44
    Family Trust
    The 2016 Karkal Family Trust                            Shares                          $951,818.44
    SWS Holding Company, LLC                                Shares                          $951,818.44
    YCC20, L.P.                                             Shares                          $943,222.37
    Bain Capital Venture Fund 2019, L.P.                    Shares                          $828,783.28
    Yaselleraph Finance Pty Ltd atf Yaselleraph
                                                            Shares                          $761,470.94
    Finance Trust
    S20, a series of Chris Golda Investments, LP            Shares                          $720,047.95
    Launchpad Capital Fund I LP                             Shares                          $683,560.13
    Buckley Ventures GP, LLC Buckley Ventures,
                                                            Shares                          $673,730.26
    LP
    LGF II, L.P.                                            Shares                          $673,730.26
    Motivate Ventures QP Fund I, LP                         Shares                          $596,122.85


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          Harland Group LLC is 100% owned by Giles.


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                                                                          Amount of
                 Defendant                         Type of Interest       Transfer or
                                                                          Obligation
Acrew Capital MGP, LLC Acrew Capital
                                                Shares                         $556,985.41
Fund, L.P.
Liquid 2 Ventures Fund II, L.P.                 Shares                         $480,045.45
Correlation Ventures II, L.P.                   Shares                         $480,045.45
Adapt VC LLC                                    Shares                         $480,045.45
AAVCF3 LP                                       Shares                         $480,045.45
Basecamp Fund 201 via Alumni Ventures
                                                Shares                         $480,045.45
Group Embedded Trust
The Gardner 2008 Living Trust                   Shares                         $480,045.45
Cathexis Subsidiaries GP, LLC, Cathexis
                                                Shares                         $480,045.45
Ventures LP
Launchpad Capital Fund I LP                     Shares                         $480,045.45
Craig Shindledecker                             Shares                         $434,860.42
Operator Partners, LLC                          Shares                         $432,028.77
Acrew Capital MGP, LLC, Acrew Capital
                                                Shares                         $380,189.36
Fund (A), L.P.
Kerr Investment Holdings Pty Ltd a/t/f The
                                                Shares                         $359,619.46
Kerr Family Trust
Motivate Ventures Motivate Ventures Fund I,
                                                Shares                         $355,695.60
LP
Homebrew Ventures III, LP                       Shares                         $328,471.31
Adam Boryenace                                  Shares                         $303,390.99
Motivate Ventures Motivate Ventures QP
                                                Shares                         $300,660.47
Fund I, LP
Kerr Investment Holdings Pty Ltd a/t/f The
                                                Shares                         $269,492.10
Kerr Family Trust
The 2016 Karkal Family Trust                    Shares                         $269,492.10
Stuart Sopp                                     Shares                         $269,492.10
VentureSouq Capital SPC o/b/o VSQ SP 59
                                                Shares                         $240,022.73
(YCS20)
Jonathan Weiner                                 Shares                         $240,022.73
James Nichols                                   Shares                         $237,959.67
Peter T. Lawler Living Trust                    Shares                         $237,959.67
Carol H. Duggan Revocable Living Trust          Shares                         $237,959.67
KV5 Pty Ltd a/t/f KV5 Trust                     Shares                         $190,367.73
Michael Ferrari                                 Shares                         $190,367.73
Motivate Ventures Motivate Ventures Fund I,
                                                Shares                         $179,405.21
LP
Stanton Camp                                    Shares                         $141,582.46
Mike McGee                                      Shares                         $131,469.43
BCIP Venture Associates II, L.P.                Shares                         $129,467.05
Aaron Frank                                     Shares                         $120,021.48

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                                                                          Amount of
                 Defendant                         Type of Interest       Transfer or
                                                                          Obligation
Benjamin Londergan                              Shares                       $120,021.48
Jonathan Christodoro                            Shares                       $120,021.48
Z Perret Trust                                  Shares                       $120,021.48
Akhil Paul                                      Shares                       $120,021.48
Fairchild Fund III, LLC                         Shares                       $120,021.48
BCIP Venture Associates II, L.P.                Shares                        $85,576.49
BCV 2019-MD Primary, L.P.                       Shares                        $48,218.94
Kamran Ansari                                   Shares                        $48,016.68
Acrew Capital MGP, LLC Acrew Capital
                                                Shares                           $47,915.55
Fund (A), L.P.
BCV 2019-MD Primary, L.P.                       Shares                        $31,876.28
BCIP Venture Associates II-B, L.P.              Shares                         $8,474.72
BCIP Venture Associates II-B, L.P.              Shares                         $5,602.62
Total Transferred to Defendants for Shares                               $202,149,276.05

Monique Saugstad                                Options                      $268,950.74
Christopher Young                               Options                      $258,986.06
Derek Clark                                     Options                      $239,075.83
Adam Boryenace                                  Options                      $121,697.97
Craig Shindledecker                             Options                      $121,697.97
Joshua Allen Slate                              Options                       $94,616.65
Justin Lovero                                   Options                       $84,253.82
Joshua Slate                                    Options                       $60,848.98
Mike McGee                                      Options                       $60,848.98
Stanton Camp                                    Options                       $60,848.98
Tana Lawler                                     Options                       $60,848.98
Tim Millar                                      Options                       $60,848.98
Dena Wever                                      Options                       $35,107.26
John Dwyer                                      Options                       $20,782.58
Brandon Mann                                    Options                       $16,843.57
David Meents                                    Options                       $15,578.62
Lindsey Boerner                                 Options                        $7,265.59
Brent Johnson                                   Options                        $6,234.77
David Streckert                                 Options                        $6,234.77
Kiara Baudoin                                   Options                        $4,156.52
Total Transferred to Defendants for Options                                $1,605,727.62

TI Platform NLI Venture Limited II              SAFE                           $9,067,021.82
Torch Capital II, LP                            SAFE                           $6,457,980.65
Treasury Fund I, LP                             SAFE                           $3,690,265.99
PruVen Capital Partners Fund I, LP              SAFE                           $2,767,694.43

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                                                                           Amount of
                 Defendant                       Type of Interest          Transfer or
                                                                           Obligation
Transpose Platform Fintech Fund II, L.P.      SAFE                          $2,003,816.59
Fin VC Regatta I, LP                          SAFE                          $1,845,122.88
TI Platform Fund II, LP                       SAFE                          $1,845,122.88
Thomas G. Miglis Revocable Trust              SAFE                            $922,551.33
SWS Holding Company, LLC                      SAFE                            $873,968.32
Alumni Ventures Group - Embedded Financial
                                              SAFE                              $645,798.06
Trust A
Philippe Jabre                                SAFE                              $461,275.66
Bain Capital Venture Fund 2019, L.P.          SAFE                              $401,649.22
Silverstone Venture Investments Limited       SAFE                              $369,024.58
EM Fund I, a series of Chris Golda
                                              SAFE                              $258,772.29
Investments, LP
TriplePoint Private Venture Credit Inc.       SAFE                              $230,637.83
Fund 1, a Series of Not Boring Capital, LP    SAFE                              $184,502.17
Warren Lowell Putnam & Brynn Jinnett
                                              SAFE                              $184,502.17
Putnam, Tenants in Common
TriplePoint Ventures 5 LLC                    SAFE                              $161,444.46
Embedfi June 2021, a Series of Party Round
                                              SAFE                              $131,004.23
LLC
Correlation Ventures II, LP                   SAFE                             $83,028.00
TriplePoint Venture Lending Fund, LLC         SAFE                             $69,173.15
Joe Percoco                                   SAFE                             $46,115.43
Clayton Gardner                               SAFE                             $46,115.43
Kick the Hive LLC                             SAFE                             $46,115.43
BCIP Venture Associates II, L.P.              SAFE                             $41,463.44
Stephen Harper                                SAFE                             $36,892.34
Samuel Jones                                  SAFE                             $36,892.34
Jonathan Duarte                               SAFE                             $36,892.34
Christian Nordby                              SAFE                             $27,669.26
Christopher Harper                            SAFE                             $18,446.17
BCV 2019-MD Primary, L.P.                     SAFE                             $15,432.49
BCIP Venture Associates II-B, L.P.            SAFE                              $2,710.29
Total Transferred to Defendants for SAFEs                                  $33,009,101.67

Michael Giles                                 Retention Payment             $55,000,000.00
Laurence Beal                                 Retention Payment              $2,000,000.00
Monique Saugstad                              Retention Payment              $2,000,000.00
Joshua Allen Slate                            Retention Payment                $700,000.00
Paul Trone                                    Retention Payment                $700,000.00
Brandon Mann                                  Retention Payment                $500,000.00
Justin Lovero                                 Retention Payment                $300,000.00
Matthew Lyon                                  Retention Payment                $300,000.00

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                                                                       Amount of
               Defendant                       Type of Interest        Transfer or
                                                                       Obligation
Adam Boryenace                            Retention Payment               $250,000.00
Craig Shindledecker                       Retention Payment               $250,000.00
Christopher Young                         Retention Payment               $200,000.00
Dena Wever                                Retention Payment               $175,000.00
Lindsey Boerner                           Retention Payment               $175,000.00
Brent Johnson                             Retention Payment               $150,000.00
John Dwyer                                Retention Payment               $150,000.00
Tana Lawler                               Retention Payment               $150,000.00
David Meents                              Retention Payment               $100,000.00
David Streckert                           Retention Payment               $100,000.00
Mike McGee                                Retention Payment               $100,000.00
Stanton Camp                              Retention Payment               $100,000.00
Tim Millar                                Retention Payment               $100,000.00
Kiara Baudoin                             Retention Payment                $50,000.00
Total Retention Payments and Payment Obligations to Defendants            $63,550,000




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